                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                        Case No. 06-CR-56

KENYOUNTA HARVESTER et. al.,

               Defendants.

_______________________________________________________________________________

        ORDER ON DEFENDANTS’ REQUESTS FOR EVIDENTIARY HEARINGS


        On March 3, 2006, the nine defendants, Kenyounta Harvester, Chantell Lockett, Larry

Harvester, Angela Bissonnette, Marquis Davis, Joseph Johnson, Nina Simmons, Rafael Rodriguez,

and Raul Aguirre-Alvarado, were charged in a criminal complaint with conspiracy to distribute

more than five kilograms of cocaine in violation of Title 21, United States Code, Sections 846,

841(a)(1), and 841(b) and Title 18, United States Code, Section 2. On March 14, 2006, the grand

jury returned a single count indictment alleging the same offenses as were alleged in the criminal

complaint. Included in the indictment was a notice of forfeiture pursuant to Title 21 United States

Code, Section 853.

        The case was referred to this court from the Honorable Charles N. Clevert, Jr., for all

pretrial processing. On May 10, 2006, this court ordered all non-Title III motions to be filed by

July 10, 2006 with the government’s response due July 31, 2006 and defense replies due August 7,




                                                -1-


      Case 2:06-cr-00056-PP       Filed 07/18/06      Page 1 of 4    Document 69
2006. Due to this case’s designation as complex, final pretrial and trial dates have not yet been

scheduled.

       On July 7, 2006, Rafael Rodriguez filed a motion seeking to suppress the fruits of a search

conducted after a traffic stop in the 7400 block of North 76th Street, Milwaukee, Wisconsin on

March 2, 2006. Rodriguez requested an evidentiary hearing.

       On July 10, 2006, Raul Aguirre-Alvarado filed a motion alleging that following a traffic

stop in the 7400 block of North 76th Street, Milwaukee, Wisconsin, on March 2, 2006, he was

subjected to custodial interrogation but was not advised of his Miranda rights. Additionally,

Aguirre-Alvarado, who was a passenger in the vehicle being driven by Rafael Rodriguez, also

alleges that it was stopped without probable cause and further searched without probable cause or a

warrant. Aguirre-Alvarado estimates that this hearing will take four to six hours of court time.

       On July 8, 2006, Angela Bissonnette filed a motion alleging that she was arrested without a

warrant or probable cause and therefore seeks suppression of evidence that was obtained from a

search of her residence, specifically six Glock firearm boxes. Bissonnette seeks an evidentiary

hearing on this motion.

       It is well established, however, that defendants are not entitled to evidentiary hearings as a

matter of course. United States v. Coleman, 149 F.3d 674, 677 (7th Cir. 1998).                Instead,

evidentiary hearings are warranted only when the defendant's allegations are definite, non-

conjectural, and detailed enough to enable the court to conclude that a substantial claim is

presented and that there are disputed issues of material fact that will affect the outcome of the

motion. Id. (citing United States v. Rollins, 862 F.2d 1282 (7th Cir. 1988)).




                                                 -2-


     Case 2:06-cr-00056-PP         Filed 07/18/06      Page 2 of 4     Document 69
       Both Rodriguez and Aguirre-Alvarado have satisfied this requirement.                 They have

established a need for a hearing on their identical motions challenging the stop and search of the

vehicle, and Aguirre-Alvarado has established a need for a hearing on his motion to suppress

statements.

       On the other hand, Bissonnette has failed to establish a need for an evidentiary hearing. In

her motion, Bissonnette expressly contradicts any claim that the firearm boxes were seized as a

consequence of her arrest. Rather, in the statement of agreed facts, Bissonnette states that she

consented to the search of her residence which resulted in the seizure of the Glock handgun boxes.

It was only after the boxes were discovered that Bissonnette was arrested. Bissonnette may dispute

that the officers had probable cause to arrest her, but that is of no moment. The fact is that she was

subsequently indicted by the grand jury. Therefore, any alleged lack of probable cause for her

arrest is only material if it resulted in fruits of the alleged illegal arrest that might be subject to a

motion to suppress, such as an incriminating statement.

       Therefore, even assuming that Bissonnette’s arrest was without probable cause, she is not

entitled to the relief request because the six Glock firearm boxes were not discovered as a result of

the arrest. Her request for an evidentiary hearing will be denied.

       IT IS THEREFORE ORDERED that Rodriguez’s and Aguirre-Alvarado’s motions for an

evidentiary hearing are granted. Due to the factual interrelation of the issues raised in the

defendants’ motions, regarding the traffic stop, a joint evidentiary hearing shall commence on

August 15, 2006 at 9:00 A.M. in Courtroom 254, United States Courthouse, 517 E. Wisconsin

Avenue, Milwaukee, Wisconsin. It will be followed by the hearing on the motion to suppress

statements.



                                                  -3-


     Case 2:06-cr-00056-PP          Filed 07/18/06      Page 3 of 4      Document 69
      IT IS FURTHER ORDERED that Bissonnette’s motion for an evidentiary hearing is

denied.

      Dated at Milwaukee, Wisconsin, this 17th day of July, 2006.

                                                   s/AARON E. GOODSTEIN
                                                   United States Magistrate Judge




                                             -4-


    Case 2:06-cr-00056-PP       Filed 07/18/06      Page 4 of 4     Document 69
